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 1   Jeffrey James VanHooreweghe (CA State Bar No. 313371)
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 6
     Counsel for Zillow Group, Inc.
 7

 8
                            UNITED STATES DISTRICT COURT
 9                        NORTHERN DISTRICT OF CALIFORNIA

10

11   FEDERAL TRADE COMMISSION,                               Case No. 3:23-cv-01710-AMO

12                         Plaintiff,
                                                             ZILLOW GROUP, INC.’S
13                 v.                                        CERTIFICATION OF CONFLICTS
                                                             AND INTERESTED ENTITIES OR
14   INTERNATIONAL EXCHANGE, INC. and                        PERSONS PURSUANT TO CIVIL
     BLACK KNIGHT, INC.,                                     L.R. 3-15
15
                           Defendants.
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            ZILLOW GROUP, INC.’S CERTIFICATION OF CONFLICTS AND INTERESTED ENTITIES OR PERSONS
                                          Case No. 3:23-cv-01710-AMO
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 1           Pursuant to Federal Rule of Civil Procedure 7.1, Zillow Group, Inc. does not have a parent

 2   corporation and there is no publicly held corporation that owns 10% or more of Zillow Group,
 3
     Inc.’s stock.
 4
             Pursuant to Civil L.R. 3-15, Zillow Group, Inc., by and through the undersigned counsel,
 5
     certifies that as of this date, other than the named party, there is no conflict or interest to report.
 6

 7
     Dated: July 7, 2023                             Respectfully submitted,
 8
                                                     WILSON SONSINI GOODRICH & ROSATI
 9                                                   Professional Corporation
10
                                                     s/ Jeffrey James VanHooreweghe
11                                                   Jeffrey James VanHooreweghe
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             ZILLOW GROUP, INC.’S CERTIFICATION OF CONFLICTS AND INTERESTED ENTITIES OR PERSONS
                                           Case No. 3:23-cv-01710-AMO
